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                             EXHIBIT 15
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


  PSARA ENERGY, LTD.                   :
                                       :
                        Plaintiff      :
                                       :                              No. 1:18-cv-00178
  SPACE SHIPPING, LTD.; GEDEN HOLDINGS:
  LTD.; ADVANTAGE ARROW SHIPPING,      :
  LLC; GENEL DENIZCILIK NAKLIYATI A.S. :
  A/K/A GEDEN LINES; ADVANTAGE         :
  TANKERS, LLC; ADVANTAGE HOLDINGS, :                                 ADMIRALTY
  LLC; FORWARD HOLDINGS, LLC;          :
  MEHMET EMIN KARAMEHMET;              :
  GULSUN NAZLI KARAMEHMET -            :
  WILLIAMS; and TUĞRUL TOKGÖZ          :
                                       :
                        Defendants     :


                     PLAINTIFF’S ORIGINAL VERIFIED COMPLAINT
         Plaintiff PSARA ENERGY, LTD., by and through undersigned counsel, for its Verified

  Complaint against Defendants: SPACE SHIPPING LTD.; GEDEN HOLDINGS, LTD.;

  ADVANTAGE ARROW SHIPPING, LLC; GENEL DENIZCILIK NAKLIYATI A.S. A/K/A

  GEDEN LINES; ADVANTAGE TANKERS, LLC; ADVANTAGE HOLDINGS, LLC;

  FORWARD HOLDINGS, LLC; MEHMET EMIN KARAMEHMET; GULSUN NAZLI

  KARAMAEHMET - WILLIAMS; and TUĞRUL TOKGÖZ alleges and pleads as follows:

                          I. JURISDICTION, VENUE, AND PARTIES

         1.      This is an admiralty and maritime claim within the meaning of rule 9(h) of the

  Federal Rules of Civil Procedure in that it involves claims for the breach of a maritime contract,

  i.e. an executed bareboat charter party for the employment of a seagoing cargo vessel. This case

  also falls under this court's admiralty and maritime jurisdiction pursuant to 28 U.S.C. § 1333, and

  is brought under the provisions of Rule B of the Supplemental Rules for Certain Admiralty or

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  Maritime Claims, and Asset Forfeiture Actions (hereinafter “Supplemental Rule B”) and the

  Federal Arbitration Act, 9 U.S.C. §§ 4, 8 in aid of maritime arbitration.

         2.      At all times material hereto Plaintiff, PSARA ENERGY, LTD. (hereinafter

  “PSARA” or “Plaintiff”), was a corporation organized under the laws of the Republic of the

  Marshall Islands and the registered owner of the Motor Tanker CV STEALTH (hereinafter “CV

  STEALTH” or “Vessel”), a crude oil tanker vessel registered in Malta.

         3.      At all times material hereto Defendant, SPACE SHIPPING, LTD. (hereinafter

  “SPACE”), was and is a foreign company organized under the laws of Malta and the bareboat

  charterer of the M/T CV STEALTH under a bareboat charter party contract dated February 23,

  2010 (“the bareboat charter”). A copy of the bareboat charter and addenda thereto are attached to

  this Original Verified Complaint as EXHIBIT 1. Though SPACE is incorporated in Malta, the

  business of SPACE is actually carried on entirely by Defendant GENEL DENIZCILIK

  NAKLIYATI A.S. a/k/a GEDEN LINES from the office facilities of GEDEN LINES at Buyukdere

  Cad., Yapi Kredi Plaza, A Blok K:12 34330 Levent-Istanbul-Turkey.

         4.      At all times material hereto GEDEN HOLDINGS, LTD. (hereinafter “GEDEN

  HOLDINGS”), was and is a foreign company organized under the laws of Malta with its operating

  office at the office facilities of GEDEN LINES at Buyukdere Cad., Yapi Kredi Plaza, A Blok K:12

  34330 Levent-Istanbul-Turkey. Though GEDEN HOLDINGS is incorporated in Malta, its

  business is actually carried on entirely by GEDEN LINES from its office facilities at Buyukdere

  Cad., Yapi Kredi Plaza, A Blok K:12 34330 Levent-Istanbul-Turkey.

         5.      At all times material hereto Defendant ADVANTAGE ARROW SHIPPING, LLC

  (hereinafter “ADVANTAGE ARROW SHIPPING”), was and is a limited liability company

  organized under the laws of the Republic of the Marshall Islands, and the registered owner of the



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  Motor Tanker ADVANTAGE ARROW, a tanker vessel registered in the Marshall Islands, with

  IMO No. 9419448 and international call sign V7KZ7. Though ADVANTAGE ARROW

  SHIPPING is incorporated in the Marshall Islands, its business is actually carried on entirely by

  Defendant GEDEN LINES from its office facilities at Buyukdere Cad., Yapi Kredi Plaza, A Blok

  K:12 34330 Levent-Istanbul-Turkey.

         6.      At all times material hereto Defendant GENEL DENIZCILIK NAKLIYATI A.S.

  a/k/a GEDEN LINES (hereinafter “GEDEN LINES”), was and is a foreign corporate entity

  organized under the laws of Turkey with its principal place of business located at Buyukdere Cad.,

  Yapi Kredi Plaza, A Blok K:12 34330 Levent-Istanbul-Tukey.

         7.      At all times material hereto ADVANTAGE TANKERS, LLC (hereinafter

  "ADVANTAGE TANKERS"), was a foreign limited liability company organized under the laws

  of the Marshall Islands. ADVANTAGE TANKERS, LLC is a holding company that owns 100%

  of Defendant ADVANTAGE ARROW SHIPPING. Though ADVANTAGE TANKERS is

  incorporated in the Marshall Islands, its business is actually carried on entirely by Defendant

  GEDEN LINES from its office facilities at Buyukdere Cad., Yapi Kredi Plaza, A Blok K:12 34330

  Levent-Istanbul-Turkey.

         8.      At all times material hereto ADVANTAGE HOLDINGS, LLC (hereinafter

  "ADVANTAGE HOLDINGS"), was a foreign limited liability company organized under the Laws

  of the Marshall Islands. ADVANTAGE HOLDINGS, LLC is a holding company that owns 100%

  of Defendant ADVANTAGE TANKERS. Though ADVANTAGE HOLDINGS is incorporated

  in the Marshall Islands, its business is carried on entirely by Defendant GEDEN LINES from its

  office facilities at Buyukdere Cad., Yapi Kredi Plaza, A Blok K:12 34330 Levent-Istanbul-Turkey.




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         9.     At all times material hereto FORWARD HOLDINGS, LLC (hereinafter

  "FORWARD HOLDINGS"), was a foreign limited liability company organized under the laws of

  the Marshall Islands. FORWARD HOLDINGS, LLC is a holding company that owns 100% of

  Defendant ADVANTAGE HOLDINGS. Though FORWARD HOLDINGS is incorporated in the

  Marshall Islands, its business is actually carried on entirely by Defendant GEDEN LINES from its

  office facilities at Buyukdere Cad., Yapi Kredi Plaza, A Blok K:12 34330 Levent-Istanbul-Turkey.

         10.    At all times material hereto MEHMET EMIN KARAMEHMET (hereinafter

  “EMIN KARAMEHMET”), is an individual person and a citizen and resident of the Republic of

  Turkey and, respectively, through a Panamanian corporation that he entirely controls - Buselten

  Finance, S.A - is the 100% shareholder of GEDEN HOLDINGS and SPACE SHIPPING. Through

  another Turkish business entity he controls - Cukurova Holdings - he is 100% shareholder of

  Defendant GEDEN LINES.

         11.    At all times material hereto, Tuğrul Tokgöz (hereinafter “TOKGÖZ”) is an

  individual person and a citizen of the Republic of Turkey and a resident of Turkey. TOKGÖZ is

  the Chief Executive Officer of ADVANTAGE ARROW SHIPPING; ADVANTAGE TANKERS;

  and a director of GEDEN HOLDINGS and GEDEN LINES and, through the intermediary holding

  companies FORWARD HOLDINGS, ADVANTAGE HOLDINGS, is 15% controlling

  shareholder of ADVANTAGE TANKERS.

         12.    At all times material hereto, GULSUN NAZLI KARAMEHMET–WILLIAMS

  (hereinafter “KARAMEHMET WILLIAMS”) is an individual person and a dual citizen of the

  Republic of Turkey and the Swiss Confederation, and a resident of the United Kingdom.

  KARAMEHMET WILLIAMS is the adult daughter and only child of EMIN KARAMEHMET,




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  and through the intermediary holding companies FORWARD HOLDINGS, ADVANTAGE

  HOLDINGS, she is the 85% controlling shareholder of ADVANTAGE TANKERS.

          13.      The jurisdiction of this Honorable Court is founded on the presence within the

  District of property of the Defendants, to wit: the M/T ADVANTAGE ARROW that may be

  attached by process of maritime attachment and garnishment under the provisions of Rule B of

  the Supplemental Rules as pled more fully in Section V of this Verified Complaint.

                                    II. THE SUBSTANTIVE CLAIMS

          14.      Under the bareboat charter party dated February 23, 2010 and addenda thereto

  dated: June 2, 2010; June 21, 2010; and January 29, 2010, Plaintiff chartered its vessel CV

  STEALTH for a “a term of 5 years straight period +/- 30 days in Charterer's option plus 1 or 2

  years optional year(s) declaration by Charterers 5 months prior end of the firm period” to “Geden

  Holdings Limited,1 Malta or nominee always guaranteed by Geden Line.” See EXHIBIT 1, box

  21. The vessel was delivered to the service of the nominee of GEDEN HOLDINGS, i.e. SPACE,

  and to GEDEN LINES, and was used and operated for profit by them as part of GEDEN LINES’

  non-owned, chartered-in fleet.

          15.      By subsequent addendum to the bareboat charter, GEDEN HOLDINGS became the

  performance guarantor of SPACE. See EXHIBIT 1. See also Addendum dated June 2, 2010, and

  performance guarantee of GEDEN HOLDINGS, dated March 4, 2010 hereto attached as

  EXHIBIT 2.

          16.      Under Part II Clause 10 of the bareboat charter, SPACE was obligated to maintain

  the vessel in a good state of repair, with all of her class certificates up to date.



  1
    Geden Holdings Limited (hereinafter “Geden Holdings”) was a holding company incorporated in Malta. It held
  100% of the shares of SPACE and 100% of the shares of several one-ship-companies as is more specifically pled in
  this Original Verified Complaint.

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         17.     Under Part II Clause 15 of the bareboat charter, SPACE was obligated to redeliver

  the vessel at the end of the bareboat charter party term “…in the same or as good structure, state,

  condition and class as that in which she was delivered, fair wear and tear not affecting class

  excepted.” Moreover, the same clause provides that “…upon redelivery shall have her survey

  cycles up to date and trading and class certificates valid for at least the number of months

  agreed…”.

         18.     Under Part II Clause 17 of the bareboat charter, SPACE was obligated “to

  indemnify the Owners against any loss, damage or expense incurred by the Owners arising out of

  or in relation to the operation of the vessel by the Charterers...” and under Rider Clause 9, SPACE,

  as charterer undertook to indemnify the owners of the vessel “against, all costs charges, expenses,

  claims proceedings (whether civil or criminal), liabilities, losses, penalties, duties and fees…and

  taxes thereon suffered or incurred by the Owners arising directly or indirectly in any manner out

  of the possession, management, control, chartering, sub-chartering…use, operation, return,

  redelivery…of the Vessel…and regardless of when the same shall arise”.

         19.     Pursuant to clause 7 of a Settlement Agreement dated 8 December 2016, and

  entered into between Plaintiff as Owners, in settlement of interim disputes regarding an

  outstanding arbitration award in favor of Owners for unpaid charter hire; and Defendant SPACE

  as Charterers, and Geden Holdings as performance guarantors, the hire amount payable under the

  Charterparty was amended to USD 9,875 per day from 1 January 2017 onwards.

         20.      Plaintiff delivered the vessel into the bareboat chartered service and rendered the

  contractual performance required of it. However, Defendant SPACE (hereinafter also referred to

  as “Charterer”), though possessing and using the CV STEALTH, has failed and refused to perform




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  its obligations under the bareboat charter party contract, and is in breach thereof as is further pled

  below.

           21.   On April 10, 2014, SPACE time chartered the Vessel to ST Shipping & Transport

  Pte. Ltd. (hereinafter “ST”), a Singapore business entity, for a term of approximately twelve

  months. ST, operating out of its Stamford, Connecticut branch office, where it is registered as a

  foreign corporation and carries on business as a cargo ship operator, sub-chartered the vessel on a

  voyage charter party dated September 4, 2014 to lift a cargo up to 400,000 barrels of Venezuelan

  crude oil from Puerto La Cruz for discharge at a terminal in the U.S.A.

           22.   The Vessel was directed by ST to Puerto la Cruz, Venezuela to load her cargo where

  after arriving, and tendering her notice of readiness to load, she was boarded by local police and

  prosecutorial authorities on or about September 13, 2014 and was detained by them on suspicion

  of attempting to carry a stolen cargo of crude oil.

           23.   At Puerto La Cruz, the CV STEALTH was further detained by court order, and at

  the request of the prosecutorial authorities, for a period exceeding three years, which was beyond

  the agreed bareboat charter party contractual redelivery date.

           24.   Under the terms of the bareboat charter, the latest date for the redelivery of the CV

  STEALTH to Plaintiff was on June 22, 2015. However, SPACE, in breach of the bareboat charter,

  failed to redeliver her to Plaintiff - her lawful owner - and at the same time was failing to pay hire

  as the bareboat charter requires.

           25.   Owners commenced London maritime arbitration to enforce their claims against

  SPACE for unpaid hires. The arbitration tribunal ruled in favor of Plaintiff, requiring SPACE to




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  keep paying monthly bareboat charter hire until the Vessel was released and was actually

  redelivered to Plaintiff.

          26.     On October 3, 2017, SPACE claimed the Venezuelan authorities’ detention of the

  CV STEALTH had terminated and gave PSARA notice of its intent to redeliver the Vessel within

  approximately 30 days. However, the Vessel was incapable of being redelivered as she was out of

  class with her attending classification society the American Bureau of Shipping. Moreover, the

  Vessel was so extensively damaged due to SPACE’s neglect and lack of maintenance throughout

  her 3 years long detention that she was incapable of sailing under her own power and was in need

  of extensive repairs.

          27.     Ultimately SPACE arranged to have the vessel towed from Puerto La Cruz,

   Venezuela to Port of Spain, Trinidad where she was redelivered and taken over by Plaintiff’s

   personnel on or about March 24, 2018 out of class, and in the same heavily damaged condition

   as she was before she was towed by SPACE to Port of Spain.

          Breach of Charterers' Maintenance/Redelivery Obligations

          28.     Pursuant to Clause 10(a) of Part II the bareboat charter, SPACE was under an

   obligation to keep the Vessel well maintained and in a good state of repair throughout the duration

   of the charter. SPACE was also under an obligation to keep the Vessel's Class fully up to date

   and to maintain all other necessary certificates in full force at all times.

          29.     Further, pursuant to Clause 15 of Part II of the bareboat charter, SPACE was

   obliged to: redeliver the Vessel to Owners "in the same or as good structure, state, condition and

   class as that in which she was delivered, fair wear and tear not affecting class excepted; " with

   her survey cycles up to date and trading and class certificates valid. Box 17 of part I of the

   bareboat charter required the Vessel to have passed her Special Survey dry docking without

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   extensions.

           30.    In breach of Clauses 10(a) and/or 15 of Part II and/or Box 17 of the bareboat charter,

   SPACE did not undertake any (or any non-negligible) maintenance on the Vessel, which since

   September 2014, failed to pass her Special Survey dry docking, and instead redelivered the Vessel

   in a severely damaged condition on 24 March 2018 with all Class and statutory certificates

   expired.

           31.    The work needed in order for the Vessel to be restored to the required redelivery

   condition; to pass Special Survey; and to have all Class and statutory certificates reinstated,

   includes the following non-exhaustive list of works:

   (i)     complete overhauling and/or repair and/or replacement of all machinery and equipment

   and extensive renewals of major and miscellaneous spares;

   (ii)    extensive piping system renewals, overhauling of valves, sensors and gauges;

   (iii)   full hull and deck blasting and extensive steel renewals and recoating;

   (iv)    extensive renewal of outfitting, supports, ladders;

   (v)     extensive steel renewals in cargo and ballast tanks;

   (vi)    re-tubing and/or replacement of auxiliary boilers and exhaust gas boilers;

   (vii) overhauling and renewal of cargo system, cargo piping, cargo monitoring and cargo

   equipment and machinery;

   (viii) steam lines and heating coils renewals;

   (ix)    deck machinery overhauling and renewal including cranes and their hydraulic systems;

   (x)     electrical, electronics and automation system service, repair and renewal;

   (xi)    extensive rewiring;

   (xii) bridge navigation and communication equipment service and renewals;



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  (xiii) overhauling, repairs and renewal of steering and shafting system;

  (xiv) overhauling, service, repair and renewals of all safety equipment, firefighting systems

  and appliances including lifesaving equipment; and

  (xv) fitting of ballast water treatment system.

        32.     As a consequence of the extensive damage to the Vessel, it would cost more to tow

  her to repair facilities and repair her than her (repaired) market value. Plaintiff, the Owner of the

  Vessel, has submitted in London Maritime arbitration a claim for damages in an amount

  equivalent to the (repaired) market value of the Vessel, which is USD 18,000,000.00

  (EIGHTEEN MILLION U.S. DOLLARS).

        Unpaid Bareboat Charter Hire

        33.     SPACE has failed to pay outstanding hire that was earned during the month of

  February 2018, for which PSARA has obtained an award from the London maritime arbitration

  tribunal - that has jurisdiction over the merits of the case - in the amount of USD 276,500. In

  addition to this amount, the arbitration tribunal has awarded PSARA Pounds Sterling 4,550.00

  (USD 6,515.50) by way of arbitration costs for this particular reference relating to the February

  2018 charter hire, with annual interests on each of the two amounts at the rate of 5%, compounded

  quarterly.

        34.     SPACE has also failed to pay Plaintiff the charter hire for the month of March 2018

  in the amount of USD 233,708.33, which Plaintiff is claiming in the ongoing London maritime

  arbitration. This amount is also claimed in London maritime arbitration.

                    III. UNDERLYING PROCEEDINGS ON THE MERITS

        35.     Box 35 and clause 30(a) of the bareboat charter party (EXHIBIT 1) provide for

 arbitration of all disputes arising out of the contract in London.



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          36.      Plaintiff is claiming in London maritime arbitration the amount of USD

 18,000,000.00 (EIGHTEEN MILLION U.S. DOLLARS) as the repaired value of the vessel; and

 the unpaid hire for the month of March 2018 in the amount of USD 233,708.33, together with

 interest and costs.

          37.      Plaintiff is also owed charter hire for the month of February 2018 under the London

 maritime arbitration award together with arbitration costs in the total amount of USD 283,015.50.

          38.      Plaintiff estimates the legal costs that will be incurred to pursue these claims in

 London maritime arbitration proceedings will be approximately USD 400,000.00. As it is

 customary in London arbitration, legal costs, including lawyers’ fees, are awarded to the prevailing

 party.

          39.      This action is an ancillary proceeding, brought to obtain jurisdiction over Defendant

 Charterer and to obtain security for Plaintiff’s claims in the London maritime arbitration

 proceedings.2

          IV. IDENTITY OF THE CORPORATE AND INDIVIDUAL DEFENDANTS
                        AND THEIR INTERRELATIONSHIPS

          40.      In June of 2015, when SPACE had fallen substantially in arrears in its bareboat

 charter hire payment obligations, and the contractual redelivery of the Vessel to Plaintiff was

 approaching, Plaintiff became concerned and made enquiries regarding the status of the CV

 STEALTH and the other crude oil tanker vessels that were being operated by Defendant GEDEN

 HOLDINGS. Plaintiff was astounded to discover the entire “owned” – as opposed to the




 2  Plaintiff is also filing a Rule B attachment against another vessel of Defendant in the Eastern District of
 Louisiana, in which it has sought the attachment of the M/T ADVANTAGE START. It appears from the Marshall
 Islands mortgage records of the said vessel that the equity of the Defendants in the said vessel is approximately $
 8,000,000.00 and therefore insufficient to secure Plaintiff’s claim, considering the lender mortgagee’s interest.

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 “chartered-in” fleet - of GEDEN HOLDINGS had been surreptitiously transferred to new owners,

 as shown in TABLE I below:

                                       TABLE I

       VSL FORMER NAME         FORMER OWNER               VSL NEW NAME      NEW OWNER
       PROFIT                  Profit Shipping, Ltd.      ADVANTAGE         Advantage Solar
                                                          SOLAR             Shipping, LLC
       TARGET                  Target Shipping, Ltd.      ADVANTAGE         Advantage Arrow
                                                          ARROW             Shipping, LLC
       TRUE                    True Shipping, Ltd.        ADVANTAGE         Advantage Avenue
                                                          AVENUE            Shipping, LLC
       BLUE                    Blue Shipping, Ltd.        ADVANTAGE SKY     Advantage Sky
                                                                            Shipping, LLC
       PINK                    Pink Shipping, Ltd.        ADVANTAGE         Advantage Summer
                                                          SUMMER            Shipping, LLC
       BLANK                   Blank Shipping, Ltd.       ADVANTAGE         Advantage Start
                                                          START             Shipping, LLC
       REEF                    Reef Shipping, Ltd.        ADVANTAGE         Advantage Spring
                                                          SPRING            Shipping, LLC
       BRAVO                   Bravo Shipping, Ltd.       ADVANTAGE ATOM    Advantage Atom
                                                                            Shipping, LLC
       POWER                   Barbaros Maritime,         ADVANTAGE         Advantage Anthem
                               Ltd.                       ANTHEM            Shipping, Ltd.
       VALUE                   Value Shipping, Ltd.       ADVANTAGE         Advantage Award
                                                          AWARD             Shipping, LLC
       ROYAL                   Prima Shipping, Ltd.       ADVANTAGE SUN     Advantage Sun
                                                                            Shipping, Ltd.



        41.     Not only had the said vessels been transferred to new corporate owners, but they

 had been renamed and reflagged from the Maltese shipping register to that of the Marshall Islands.

        42.     Investigation into the ship register/ship mortgage record of the Republic of the

 Marshall Islands revealed that all of the above 11 crude oil tanker vessels which were formerly

 owned by one-ship-companies, and in turn, 100% controlled by shareholder GEDEN HOLDINGS,

 had been transferred in approximately the first 5 months of 2015 - without any notice to or the

 knowledge of Plaintiff - to new one-ship-companies 100% controlled by a new holding company:


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 ADVANTAGE TANKERS, LLC. ADVANTAGE TANKERS is ultimately 85% controlled by

 the daughter and only child of Defendant EMIN KARAMEHMET, i.e. Defendant

 KARAMEHMET WILLIAMS and 15% by Defendant TOKGÖZ. The said ship mortgage records

 contain a diagrammatic representation of the said new ownership structure which is hereto attached

 as EXHIBIT 3.

         A. SUCCESSOR CORPORATION RELATIONSHIP

         43.      The grouping of the following corporate entities: ADVANTAGE TANKERS; its

 subsidiary ADVANTAGE ARROW SHIPPING; ADVANTAGE HOLDINGS; FORWARD

 HOLDINGS; and 10 other one-ship-company entities that are subsidiaries of ADVANTAGE

 TANKERS3 (said grouping hereinafter collectively referred to for the sake of brevity as

 “Advantage-Group”) comprise, respectively, successor corporate business entities of the grouping

 formerly constituted of: GEDEN HOLDINGS; Target Shipping, Ltd., GEDEN LINES; SPACE

 SHIPPING; and 10 other former one-ship-companies4, as shown in TABLE I (hereinafter

 collectively referred to, for the sake of brevity, as “Geden-Group”).

         44.      As particularized in the following paragraphs 45-55 the Advantage-Group

 corporate entities are successor corporations of the Geden-Group corporate entities in that: a) the

 former have acquired and are respectively in possession of the trading assets of the latter5



 3  Foreign limited liability companies: Advantage Solar Shipping, LLC; Advantage Sky Shipping, LLC; Advantage
 Start Shipping, LLC; Advantage Arrow Shipping, LLC; Advantage Avenue Shipping, LLC; Advantage Award
 Shipping, LLC; Advantage Atom Shipping, LLC; Advantage Summer Shipping, LLC; Advantage Spring Shipping,
 LLC; Advantage Sun Shipping, LLC
 4
   Foreign limited liability companies: Profit Shipping, Ltd.; Blue Shipping, Ltd.; Blank Shipping, Ltd.; Target
 Shipping, Ltd.; True Shipping Ltd.; Value Shipping, Ltd; Bravo Shipping, Ltd; Barbaros Maritime, Ltd; Pink
 Shipping, Ltd; Reef Shipping Ltd.; Prima Shipping, Ltd.
 5
   The said assets are the tankers: PROFIT now renamed ADVANTAGE SOLAR; BLUE now renamed ADVANTAGE
 SKY; BLANK now renamed ADVANTAGE START; TARGET now renamed ADVANTAGE ARROW; TRUE now
 renamed ADVANTAGE AVENUE; VALUE now renamed ADVANATGE AWARD; BRAVO now renamed
 ADVANTAGE ATOM; POWER now renamed ADVANTAGE ANTHEM; PINK now renamed ADVANTAGE
 SUMMER; REEF now renamed ADVANTAGE SPRING; ROYAL now renamed ADVANATGE SUN. For the sake
 of brevity these vessels will be collectively referred to as "the 11 tanker vessels".

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 (hereinafter “the 11 tanker vessels”), as illustrated in the foregoing Table I; b) they occupy and

 carry on business from the same business premises, i.e. Buyukdere Cad., Yapi Kredi Plaza, A

 Blok K:12 34330 Levent-Istanbul-Tukey; c) they transact their business by and through identical

 personnel as the latter; d) they share common officers and directors with the latter; e) they have

 taken over and are servicing the same customers as were being served by the latter; f) they have

 virtually the same financing banks financing their business as the latter; g) they have assumed

 numerous of the latter’s obligations, including long term charter parties with Shell Western Supply

 and Trading, Ltd.; h) there is continuity of shareholders, GEDEN HOLDINGS retains ultimate

 control over the corporate entities of the Advantage-Group that own the 11 tanker vessels; i) the

 controlling shareholder of GEDEN HOLDINGS and GEDEN LINES - EMIN KARAMEHMET

 – continues to maintain a substantial financial interest in the Advantage-Group companies, as

 GEDEN LINES (which is 100% controlled by him) manages and operates all of its 11 tanker

 vessels formerly held by the one-ship-companies of the Geden-Group; j) GEDEN LINES exercises

 complete control over all of the corporate entities of the Advantage-Group as its administrative,

 operations, technical, commercial, and safety manager; k) following the purported sale of the 11

 tanker vessels, GEDEN HOLDINGS formally ceased its ordinary business operations, through its

 subsidiary one ship companies and wound down its remaining business of operating chartered-in

 tonnage.

        45.     As part of a business reorganization arrangement conceived and implemented by

 the management of the Geden-Group, in concert with EMIN KARAMEHMET, KARAMEHMET

 WILLIAMS, and TOKGÖZ, the one-ship-companies of the Geden-Group “sold” the respective

 vessels each one of them had owned to its homologous Advantage-Group one-ship-company, with

 these transactions occurring approximately during the first and second quarter of 2015. The said



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 “sales”, were in actual fact part of a “reorganization” and makeover of the ownership structure,

 whereby newly minted corporate one-ship-companies of the Advantage-Group would take over

 ownership of the assets with the control, however, remaining with GEDEN HOLDINGS. See

 “Consent Letter” agreement dated February 6, 2015 between GEDEN HOLDINGS and Shell

 Western Supply and Trading, Ltd. hereto attached as EXHIBIT 4 at Bates No. D01248, at ¶ 2

 thereof, wherein GEDEN HOLDINGS assures Shell Western Supply and Trading, Ltd that each

 of the Advantage-Group one-ship-companies would be “wholly owned by the Shareholder”, i.e.

 GEDEN HOLDINGS.

        46.     Notwithstanding the transfer of ownership of the respective vessels from the

 Geden-Group one-ship-companies, to the respective Advantage-Group one-ship-companies, all of

 the time charter parties under which the said respective vessels, before and at the time of the

 transfer, were being employed by Shell Western Supply and Trading, Ltd. continued seamlessly

 with the Advantage-Group one-ship-companies.          This was accomplished under contractual

 arrangements with Shell Western, worked out by GEDEN HOLDINGS / GEDEN LINES,

 KARAMEHMET-WILLIAMS, and TOKGÖZ, whereby the said charter parties, several of which

 had significant unexpired terms, were renewed for a 5-year period, at rates and on such other terms

 as were agreed on behalf of the Advantage-Group one-ship-companies by GEDEN HOLDINGS.

 Id. at D01248 - D01250.

        47.     Notwithstanding the purported transfer of ownership of the respective vessels from

 the Geden-Group one-ship-companies to the respective Advantage-Group one-ship-companies,

 GEDEN HOLDINGS represented and warranted to the Geden-Group’s sole customer - Shell

 Western Supply and Trading, Ltd - that it retained ownership over the Advantage-Group one-ship-

 companies. Id. at Bates No. D01248, at ¶ 2 thereof. Said representations and warranties regarding



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 the ultimate ownership and control of the Advantage-Group one-ship-companies by GEDEN

 HOLDINGS were accepted by Shell Western Supply and Trading, Ltd in agreeing to enter into

 new time charters with the said Advantage-Group one-ship-companies. See relevant extract from

 the deposition of the General Manager of Shell Western Supply & Trading, Ltd. specifically

 identifying GEDEN HOLDINGS as the “shareholder” retaining the ultimate control over the

 Advantage-Group one-ship-companies, hereto attached as EXHIBIT 5.

        48.     Notwithstanding the transfer of ownership of the respective vessels from the

 Geden-Group one-ship-companies to the respective Advantage-Group one-ship-companies, all

 day-to-day shore-side operations of the 11 tanker vessels continue to be performed by and through

 GEDEN LINES, including safety management, security management, crewing, victualing,

 supplying, technical monitoring and supervision, drydocking, repairs, accounting, insuring, and

 generally every function necessary in order to keep and maintain the said vessels trading as

 merchant vessels in the same manner and to the same extent that GEDEN LINES had performed

 before the said transfer of ownership of the 11 tanker vessels. See e.g. Ship Management

 Agreement for the M/T ADVANTAGE ARROW dated February 25, 2015, hereto attached as

 EXHIBIT 6 at pp. 2405-2414; See also extract from Loan Agreement dated February 4, 2015 of

 Norddeutsche    Landesbank    Girozentale   (hereinafter   “NLDB”)     Loan    Agreement    with

 ADVANTAGE ARROW SHIPPING extract hereto attached as EXHIBIT 7 at p. 2, defining

 “Approved Manager” as “Genel Denizcilik of Turkey as technical manager and as commercial

 manager or any other person approved in accordance with Clause 22.3 (Manager)", and

 designating “Genel Denizcilik” as Technical Manager and Operations Manager. Id. at p.133.

        49.     The operation and management of the 11 tanker vessels of the Advantage-Group is

 performed by EMIN KARAMEHMET’s GEDEN LINES, using the same employees; working out



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 of the same address (Buyukdere Ca., Yapi Kredi Plaza, A Blok K: 12 34330-Levent-Istanbul-

 Turkey), as previously, before the same 11 tanker vessels were transferred to the Advantage-

 Group.

          50.   Notwithstanding the transfer of ownership of the 11 tanker vessels from the Geden-

 Group one-ship-companies to the respective Advantage-Group one-ship-companies, the majority

 of the lenders that financed the acquisition of the vessels by the Advantage-Group one-ship

 companies remained the same, with new rollover-like refinancing arrangements and ship

 mortgaging arrangements having been negotiated and worked out by GEDEN HOLDINGS /

 GEDEN LINES executives and directors on behalf of ADVANTAGE TANKERS. See EXHIBIT

 4 at ANNEX I.

          51.   Notwithstanding the transfer of the 11 tanker vessels from the Geden-Group to the

 Advantage-Group, GEDEN LINES, which is controlled by EMIN KARAMAHMET, continues to

 maintain a substantial financial interest in the 11 tanker vessels enjoying a significant economic

 benefit as operator and manager of the ADVANTAGE TANKERS fleet of approximately USD

 4,015,000.00 annually as compensation for its services.

          52.   Notwithstanding the transfer of the 11 tanker vessels from the Geden-Group to the

 Advantage-Group, GEDEN LINES, in its capacity as the sole operator and manager of the 11

 tanker vessels, and thereby its controlling shareholder EMIN KARAMEHMET, exercise complete

 control over all of the operational, technical, and all other business activities of the 11 one-ship-

 companies of the Advantage-Group.

          53.   GEDEN HOLDINGS, GEDEN LINES, ADVANTAGE TANKERS, and the

 respective one-ship-companies of the Geden-Group and Advantage-Group have in common key

 management personnel including: the same Chief Executive Officer, who is also a director of



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 GEDEN HOLDINGS, GEDEN LINES and ADVANTAGE TANKERS; and the same Chief

 Financial Officer, who is also a director of GEDEN HOLDINGS.

         54.     Following the “sale” of the 11 tanker vessels, their respective former one-ship-

 company owners ceased to own vessels.

         55.     The holding company role of GEDEN HOLDINGS and the one-ship-companies of

 the Geden-Group, following the transfer of the 11 tanker vessels, was taken over by

 ADVANTAGE TANKERS and its subsidiary one-ship-companies. ADVANTAGE TANKERS

 and its subsidiary one-ship-companies thereby have assumed the obligations previously incumbent

 on GEDEN HOLDINGS and its one-ship-subsidiaries.

         56.     By reason of the foregoing facts pled in averments ¶¶ 45-55, ADVANTAGE

 TANKERS and the one-ship-companies it holds, and GEDEN HOLDINGS and the one-ship-

 companies and single-vessel chartering companies it holds, have either entered into a de facto

 merger; or ADVANTAGE TANKERS and the one-ship-companies it holds are a mere

 continuation of the business of GEDEN HOLDINGS.

         57.     In the alternative the transfer of the assets of the Geden-Group to the Advantage-

 Group in the manner set out in the foregoing averments ¶¶ 45-55 was a transaction entered into by

 the parties involved to avoid liabilities.

         58.     The one-ship companies that formerly owned the 11 tanker vessels were absorbed

 by the Advantage-Group, as evidenced by the identity of assets, location, management, personnel,

 and stockholders.

         59.     Accordingly, ADVANTAGE TANKERS and the one-ship-companies it holds,

 including ADVANTAGE ARROW SHIPPING, are liable for Plaintiff’s claims respectively as the

 successor corporations of EMIN KARAMEHMET - controlled GEDEN HOLDINGS, SPACE



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 SHIPPING and TARGET SHIPPING, LTD, and the M/T ADVANTAGE ARROW may be

 attached as security for Plaintiff’s claims.

         B. FRAUDULENT TRANSFER ALLEGATIONS

         60.     Plaintiff realleges ¶¶ 1-59 of the above and foregoing Original Verified Complaint

 and further avers as follows:

         61.     In agreeing to bareboat charter its vessel the CV STEALTH to SPACE, a Maltese

 corporation without any known tangible assets or business performance record, and to accept the

 performance guarantee of GEDEN HOLDINGS, Plaintiff relied on express affirmative

 representations of fact made on behalf of GEDEN HOLDINGS / GEDEN LINES by their common

 CEO and director TOKGÖZ. Specifically, TOKGÖZ represented that GEDEN HOLDINGS was

 the parent company of the “special purpose companies”, i.e. the-one-ship companies which at the

 time owned the 11 tanker vessels. A Copy of the March 4, 2010 letter of GEDEN HOLDINGS

 containing such representations in writing is hereto attached as EXHIBIT 8.

         62.     The    performance     guarantee     of   GEDEN       HOLDINGS         (EXHIBIT       2)

 contemporaneously issued with the March 4, 2010 letter, is a continual guarantee extending over

 the entire duration of the performance of the charter party, and indeed, for at least 7 years past the

 delivery of the vessel, and specifically provides in relevant part that that it is given in consideration

 of Plaintiff's refraining from arresting or otherwise detaining any of the assets of GEDEN

 HOLDINGS.

         63.     Plaintiff relied on the representations made in the March 4, 2010 letter (EXHIBIT

 8), particularly the representation that GEDEDN HOLDINGS owned and would continue to own

 through its one-ship-companies the 11 tanker vessels, and thereby agreed to continue chartering

 the CV STEALTH to SPACE and accept the performance guarantee of GEDEN HOLDINGS.



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         64.      GEDEN HOLDINGS purports that during the first 5 months of 2015 it divested

 itself of its entire interest in the 11 tanker vessels and “sold” same to the Defendants comprising

 the Advantage-Group through legitimate arm’s length transactions. In actual fact, the Defendants

 implemented a fraudulent restructuring scheme that had been in their planning and contemplation

 as pled below6.

         65.      During 2012 and 2013 as a result of a faltering tanker market, the high prices it had

 paid for the construction of the 11 tanker vessels and the acquisition of other tonnage, the Geden-

 Group experienced severe economic difficulties and pressing demands by various creditors that

 included attachment of vessels of the group. In consultation with the group’s lending banks,

 GEDEN LINES commissioned business restructuring specialist AlixPartners UK LLP to develop a

 proposed plan for the restructuring of their business. A report was prepared by AlixPartners, dated

 March 6, 2013 under the title “Project Hermitage Restructuring”. See Report of AlixPartners

 hereto attached as EXHIBIT 97 (hereinafter referred to as “Project Hermitage”).

         66.      Project Hermitage recommended the replacement of GEDEN HOLDINGS as the

 group’s holding company by another new business entity - a “newco” - which, under the

 recommended plan, “[p]rovides for recategorization of exposure from "Geden Holdings Ltd.” to

 Newco where equity is "in-the-money" and shareholders are better incentivized to provide ongoing




 6 In a similar manner GEDEN HOLDINGS purportedly “sold” its fleet of product carrier tankers to new buyers
 while it continued to maintain control over their operation and to profit from trading same under FUTURE
 HOLDINGS, LTD. a management company controlled by Defendants KARAMEHMET-WILLIAMS and
 TOKGÖZ.
 7
   The Alix Partners’ report specifically states: “This report ("Report") was prepared by AlixPartners UK LLP
 ("AlixPartners") exclusively for the sole benefit and internal use of GENEL Denizcilik Nakliyati A.S. - GEDEN
 Lines (the "Company") pursuant to a client relationship between AlixPartners and the Company stipulated in the
 agreement for the provision of consulting services dated 22 November 2012 (the "Engagement Letter"). EXHIBIT
 10 at Bates No. P-001832. As to the factual content of the AlixPartners report it provides in relevant part: “The
 information contained in this Report is based upon financial and other data provided to AlixPartners and the
 representation made to AlixPartners by the management and staff of the Company” Id. at Bates No. P-001833.
 Emphasis added.

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 support.” See EXHIBIT 9 at Bates No. P-001870.                        The plan of Project Hermitage also

 recommended the sale of the vessels or the one-ship-companies to “Newco”; the continuation of

 the management of the vessels by GEDEN LINES; the rollover financing of the existing debt to

 the financing banks; the retention of the equity of GEDEN HOLDINGS; the transfer of the surplus

 of equity in the assets to Newco (EXHIBIT 9 (flow chart) Bates No. P-001846); and the ring-

 fencing of potential sources of disruption (such as arrests and sister-ship arrests). Id. at Bates No.

 P-001870.

          67.      Even though the recommendations of Project Hermitage were not adopted by

 Defendants in their exact proposed form, they were nonetheless substantially adopted and

 implemented as evidenced by the following events: a) GEDEN HOLDINGS / GEDEN LINES,

 acting by and through their common chief executive officer and chief financial officer, caused the

 incorporation of Advantage Tankers, LLC, in the Marshall Islands, i.e. the “Newco” contemplated

 by Project Hermitage8; b) GEDEN HOLDINGS / GEDEN LINES, by and through their common

 chief executive officer and chief financial officer, made arrangements for the rollover financing of

 the loans of GEDEN HOLDINGS’ one-ship-companies with ADVANTAGE TANKERS taking

 on the role of corporate guarantor; c) GEDEN HOLDINGS / GEDEN LINES, acting by and

 through their common chief executive officer and chief financial officer, caused the one-ship-

 companies controlled by GEDEN HOLDINGS to “sell” their vessels to newly minted Marshall

 Islands corporate entities that comprise the Advantage-Group shown in the foregoing TABLE I;

 d) GEDEN HOLDINGS / GEDEN LINES, acting by and through their common chief executive

 officer and chief financial officer, arranged for the management of the 11 tanker vessels to continue



 8
  At all times material hereto, all Defendants have the same Chief Executive officer - Tugrul Tokgoz- and the same
 Chief Financial Officer -Mehmet Matt - who also hold overlapping roles as directors and /or officers of the respective
 corporate Defendants of the one-ship-companies controlled by ADVANTAGE TANKERS.

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 being performed by GEDEN LINES under new 5 year contracts; e) by transferring all of the

 tangible operating assets of GEDEN HOLDINGS to the ADVANTAGE TANKERS one-ship-

 companies, i.e. the 11 tanker vessels, GEDEN HOLDINGS effectively “ringfenced” them, thereby

 blocking creditors of GEDEN HOLDINGS from seeking recourse against its assets.

        68.     Project Hermitage specifically referred to the bareboat charter of the CV STEALTH

 and other chartered-in tonnage of other owners in the following terms: “Group D, Geden Oldco:

 11 Group D vessels make up the residual fleet and are not part of the Company's future. These

 include the vessels funded by FSL, Icon, Octavian and Stealth when traditional financing was

 unavailable.” With specific reference to Plaintiff’s vessel the CV STEALTH Project Hermitage

 notes: “not ours”. See EXHIBIT 9 at P-001856.

        69.      The actions of the Defendants in implementing the recommendations of Project

 Hermitage in the manner described in the foregoing, manifests the design, plan, and intent of the

 Defendants to deal with their assets in a fraudulent manner to the detriment and prejudice of their

 creditors, specifically including Plaintiff as noted in ¶ 68 supra.

        70.     Defendant SPACE SHIPPING, LLC’s sole business is to act as the nominee of

 GEDEN HOLDINGS in the performance of the bareboat charter. As pled in the foregoing,

 Plaintiff entered in the bareboat charter relying on the representations and warranties that GEDEN

 HOLDINGS was the owner of the 11 tanker vessels and several other vessels, and on its

 performance guarantee.

        71.      At all times material hereto and as pled in the foregoing, GEDEN HOLDINGS

 through the machinations of its equity holder EMIN KARAMEHMET “restructured” the

 ownership of its assets, by arranging their transfer to ADVANTAGE TANKERS, a company 85%

 controlled by his only child KARAMEHMET WILLIAMS, and 15% by his hand-picked CEO of



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 GEDEN LINES and GEDEN HOLDINGS, TOKGÖZ. As a result, Plaintiff was left without any

 of the recourse that it had agreed to forego (i.e. the attachment of Geden Holdings’ owned vessels)

 in consideration for GEDEN HOLDING’s performance guarantee.

        72.     Notwithstanding the fraudulent restructuring of the ownership of its shipping

 assets, GEDEN HOLDINGS provided in confidence express assurances to Shell Western Supply

 & Trading, Ltd. that it remained the controlling shareholder of the same 11 tanker vessels through

 its complete control of the Advantage-Group one-ship companies.

        73.     Though Defendants KARAMEHMET WILLIAMS and TOKGÖZ have warranted

 to the lenders of the Advantage-Group that they hold respectively 85% and 15% of the ultimate

 beneficial interest in ADVANTAGE TANKERS, which, in turn, warrants it controls 100% of the

 11 tanker vessels, (See EXHIBIT 3),         TOKGÖZ, who is the Chief Executive Officer of

 ADVANTAGE TANKER and a director of GEDEN HOLDINGS, has also warranted to Shell

 Western Supply & Trading, Ltd. that it is actually GEDEN HOLDINGS, which controls the

 Advantage-Group corporate entities, that own the same vessels even after their purported transfer

 to the Advantage Group.       Based on the foregoing and the conflicting representations of

 Defendants, the ownership of the ADVANTAGE ARROW (ex TARGET) was fraudulently

 transferred to the detriment of unsecured creditors.

        74.     Plaintiff invokes the power of this honorable court as a court of admiralty “…to

 protect its jurisdiction from being thwarted by a fraudulent transfer, [by] …. authorizing an

 attachment to secure an independent maritime claim.” Swift Co Packers v. Compania Colombiana

 Del Caribe, 339 U.S. 684, 694-695 (1950).

        75.     Based on the expressed rationale underlying the transfer of the 11 tanker vessels

 from GEDEN HOLDINGS to ADVANTAGE TANKERS noted in the foregoing, i.e. the



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 "ringfencing" of the assets in order to avoid "arrests"; the close family relationship between EMIN

 KARAMEHMET and KARAMEHMET WILLIAMS that constitutes the latter an insider of the

 former in relation to his status as 100% shareholder of Plaintiff's obligors GEDEN HOLDINGS /

 GEDEN LINES and SPACE; the transfer of what was substantially all of the assets of the said

 obligors of Plaintiff; the failure of the Defendants to disclose to Plaintiff the impending transfer

 of the assets from the Geden-Group to the Advantage-Group; the Defendants express intent to

 fraudulently restructure the ownership of the corporate holding structures for the benefit of the

 equity holders and to the detriment of unsecured non-lending creditors; and all of the factual

 circumstances pled in the foregoing ¶¶ 60-74, there are reasonable grounds and probable cause to

 believe that the said transfer was intended to hinder, delay, or defraud the creditors of SPACE and

 same may and should be set aside as a fraudulent conveyance.

                       V. APPLICATION FOR ATTACHMENT UNDER
                           SUPPLEMENTAL ADMIRALTY RULE B

        76.     None of the Defendants are or were at the time of the filing of this suit present

 within the District or can be found in the District within the meaning of Rule B of the Supplemental

 Rules for Certain Admiralty and Maritime Law Claims and under the laws of Texas governing

 personal jurisdiction. See Attorney Declaration of George Gaitas attached hereto as EXHIBIT 10.

 Nevertheless, Defendants have within the District tangible or intangible personal property in the

 hands of parties who may be named garnishees in the process of maritime attachment and

 garnishment consisting of debts, credits, or effects.

        77.     More specifically there is presently, or imminently due to arrive in the Eastern

 District of Texas, the Motor Tanker ADVANTAGE ARROW, a tanker vessel registered in the

 Marshall Islands, with IMO No. 9419448 and international call sign V7KZ7, as pled in the

 foregoing.

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        78.     Defendants have used and continue to use the purportedly corporate separateness,

 and incorporated status of their surrogate entities ADVANTAGE ARROW, ADVANTAGE

 TANKERS, ADVANTAGE HOLDINGS, and FORWARD HOLDINGS abusively, to wit: to

 engage in fraudulent corporate restructuring and asset reallocation practices in order to escape

 their lawful obligation to repair or pay the cost of repairs of the CV STEALTH and also pay

 bareboat charter hire until the redelivery of the CV STEALTH to Plaintiff - her lawful owner.

        79.     Plaintiff has maritime claims against the Defendants arising out of the breach of a

 maritime contract (i.e. – the bareboat charter party with CV STEALTH dated February 23, 2010,

 and the performance guarantee dated April 4, 2010).

        80.     The amounts of Plaintiff’s claims as reasonably as it can be estimated is as follows:

        A.      The repaired cost of the CV STEALTH………………......$                    18,000,000.00

        B.      Unpaid Charter Hire due and owing.….………………….$                          510,208.33

        C.     Awarded legal costs………………………………............$                              6,515.50

        C.      Interest at 6% compounded quarterly for 1 year………...$                 943,340.00

        E.      Recoverable Legal Fees and Costs……………………… $                           400,000.00


        Total Claim……………………………………………………………$ 19,860,063.80

        Therefore, Plaintiff’s total claim for breach of the maritime contracts against Defendants

 is in the aggregate sum of USD 19,860,063.80 (NINETEEN MILLION EIGHT HUNDRED

 SIXTY THOUSAND SIXTY THREE DOLLARS AND EIGHTY CENTS)

        WHEREFORE PREMISES CONSIDERED, Plaintiff prays as follows:

        A.      That process in due form of law, according to the practice of this Honorable Court

 in matters of admiralty and maritime jurisdiction be issued against Defendants and said Defendants

 be cited to appear and answer the allegations of this Original Verified Complaint;

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           B.   That since the Defendants cannot be found within this District pursuant to

 Supplemental Rule B, all of the assets of the Defendants presently within this District, or assets

 expected in this District during the pendency of this action, including, but not limited to the M/T

 ADVANTAGE ARROW and/or any assets within the possession, custody or control of any other

 garnishee upon whom a copy of the Process of Maritime Attachment and Garnishment issued in

 this action may be served, be attached and garnished in an amount sufficient to answer Plaintiff’s

 claim;

           C.   That this Court retain jurisdiction over this matter through the entry of any

 judgment or award associated with any of the claims currently pending, or which may be initiated

 in the future, including any appeals thereof;

           D.   That judgment be entered against each of the Defendants and each of them in the

 sum of Nineteen Million Eight Hundred Sixty Thousand Sixty Three Dollars and eighty cents

 (USD 19,860,063.80) (NINETEEN MILLION EIGHT HUNDRED SIXTY THOUSAND

 SIXTY THREE DOLLARS AND EIGHTY CENTS) together with interest and costs, be

 applied in satisfaction thereof;

           E.   That the Court grant such other and further relief as it deems, just, equitable and

 proper.

                                                        Respectfully submitted,

                                                 By:    GAITAS, KENNEDY & CHALOS, P.C.


                                                        /s/George A. Gaitas
                                                        George A. Gaitas
                                                        State Bar No. 24058885
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                        EXHIBIT 10
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION


 PSARA ENERGY, LTD.                   :
                                      :
                       Plaintiff      :
                                      :
 SPACE SHIPPING, LTD.; GEDEN HOLDINGS:
 LTD.; ADVANTAGE ARROW SHIPPING,      :
 LLC; GENEL DENIZCILIK NAKLIYATI A.S. :
 A/K/A GEDEN LINES; ADVANTAGE         :
 TANKERS, LLC; ADVANTAGE HOLDINGS, :                                ADMIRALTY
 LLC; FORWARD HOLDINGS, LLC;          :
 MEHMET EMIN KARAMEHMET;              :
 GULSUN NAZLI KARAMEHMET -            :
 WILLIAMS; and TUĞRUL TOKGÖZ          :
                                      :
                       Defendants     :

                                 ATTORNEY DECLARATION

        Pursuant to 28 U.S.C. § 1746, this declaration is executed by George A. Gaitas, counsel

 for Plaintiff, PSARA ENREGY, LTD., in order to secure the issuance of a Summons and Process

 of Maritime Attachment and Garnishment in the above-captioned Admiralty Cause. I, George A.

 Gaitas, declare under the penalty of perjury:

        I am a Member of the firm of GAITAS, KENNEDY & CHALOS, P.C., attorneys for

 Plaintiff in the above referenced matter.

        I am familiar with the circumstances of the Original Verified Complaint, and I submit this

 declaration in support of Plaintiff’s request for the issuance of Process of Maritime Attachment

 and Garnishment of the property of the Defendants, SPACE SHIPPING LTD.; GEDEN

 HOLDINGS, LTD.; ADVANTAGE ARROW SHIPPING, LLC; GENEL DENIZCILIK

 NAKLIYATI A.S. A/K/A GEDEN LINES; ADVANTAGE TANKERS, LLC; ADVANTAGE

 HOLDINGS, LLC; FORWARD HOLDINGS, LLC; MEHMET EMIN KARAMEHMET;

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 GULSUN NAZLI KARAMEHMET WILLIAMS; TUGRUL TOKGOZ, pursuant to Rule B of the

 Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil

 Procedure.

         I have personally inquired or have directed inquiries into the presence of the Defendants in

 this District.

         I have directed attorneys in my firm to check with the office of the Texas Secretary of

 State, using the Secretary of State’s database, to determine whether the Defendants can be located

 within this District. SPACE SHIPPING LTD.; ADVANTAGE ARROW SHIPPING, LLC;

 GENEL DENIZCILIK NAKLIYATI A.S. A/K/A GEDEN LINES; ADVANTAGE TANKERS,

 LLC; ADVANTAGE HOLDINGS, LLC; FORWARD HOLDINGS, LLC; MEHMET EMIN

 KARAMEHMET; GULSUN NAZLI KARAMEHMET WILLIAMS; TUGRUL TOKGOZ is not

 registered with the Texas Secretary of State. Accordingly, I have determined that, as of April 20,

 2018, none of these Defendants are incorporated or registered as foreign corporations pursuant to

 the laws of Texas, and have neither nominated nor appointed any agent for the service of process

 within this District.

         GEDEN HOLDINGS, LTD. is registered with the Texas Secretary of State1, but cannot be

 found within this District. GEDEN HOLDINGS, LTD. is not subject to the jurisdiction of the

 Eastern District of Texas nor amenable to service of process within the Eastern District of Texas.

         I have directed attorneys in my firm to engage a search of the Superpages telephone

 directory on the internet, and determined that there are no telephone listings or addresses for the

 Defendants within this District.




 1
  GEDEN HOLDINGS, LTD. has appointed an agent for service of process located in the Northern District of
 Texas.

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         I have directed attorneys in my firm to engage in a Google search as to whether the

 Defendants can be located within this District. The Google search results did not provide a listing

 for the named Defendants.

         I am unaware of any general or managing agent(s) of the named Defendants within this

 District.

         In that I have been able to determine that the Defendants have not appointed an agent for

 service of process within the Eastern District of Texas and that I have found no indication that the

 Defendant can be found within this District for the purposes of Rule B, I have formed a good faith

 belief based on the investigation of the attorneys under my direction that the Defendant does not

 have sufficient contacts or business activities within this District and does not have any offices or

 agents within this District to defeat maritime attachment under Rule B of the Supplemental Rules

 for Admiralty and Maritime Claims as set forth in the Federal Rules of Civil Procedure.

         It is my belief, based upon an investigation performed by attorneys in my firm under my

 direction that the Defendant cannot be found within this District for the purposes of Rule B of

 the Supplemental Rules of Certain Admiralty and Maritime Claims of the Federal Rules of Civil

 Procedure.




 Dated: April 20, 2018                                 Respectfully submitted,
        Houston, Texas
                                                       Gaitas, Kennedy & Chalos, P.C.

                                                By:    _/s/ George A. Gaitas
                                                       George A. Gaitas
                                                       State Bar No. 24058885
                                                       Federal Bar No. 705176
                                                       6250 Westpark Dr.
                                                       Suite 222
                                                       Houston, Texas 77057
                                                       Telephone: 281-501-1800
                                                       Fax: 832-962-8178

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                                            E-mail:gaitas@gkclaw.com

                                            Attorneys for Plaintiff

                                            PSARA ENERGY, LTD.




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JS 44 (Rev. 12/12)                      CIVIL COVER
                                                  152 SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                       DEFENDANTS
PSARA ENERGY, LTD.                                                                                    Space Shipping, Ltd.; Geden Holdings, Ltd.; Advantage Arrow Shipping, LLC; Genel Denizcilik
                                                                                                      Nakliyati A.S. a/k/a Geden Lines; Advantage Tankers, LLC; Advantage Holdings, LLC; Forward
                                                                                                      Holdings, LLC; Mehmet Emin Karamehmet; Gulsun Nazli Karamehmet Williams; Tugrol
                                                                                                      Tokgoz
   (b) County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
Gaitas, Kennedy & Chalos, P.C.
6250 Westpark Dr., Ste. 222, Houston, Texas, 77057
281-501-1800

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                           and One Box for Defendant)
’ 1    U.S. Government           ’ 3    Federal Question                                                                     PTF          DEF                                           PTF      DEF
         Plaintiff                        (U.S. Government Not a Party)                        Citizen of This State         ’ 1          ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                      of Business In This State

’ 2    U.S. Government           ’ 4    Diversity                                              Citizen of Another State          ’ 2       ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                        (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                               Citizen or Subject of a           ’ 3       ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                        TORTS                                  FORFEITURE/PENALTY                            BANKRUPTCY                    OTHER STATUTES
’ 110 Insurance                    PERSONAL INJURY               PERSONAL INJURY               ’ 625 Drug Related Seizure             ’ 422 Appeal 28 USC 158           ’ 375 False Claims Act
’ 120 Marine                     ’ 310 Airplane               ’ 365 Personal Injury -                of Property 21 USC 881           ’ 423 Withdrawal                  ’ 400 State Reapportionment
’ 130 Miller Act                 ’ 315 Airplane Product             Product Liability          ’ 690 Other                                  28 USC 157                  ’ 410 Antitrust
’ 140 Negotiable Instrument             Liability             ’ 367 Health Care/                                                                                        ’ 430 Banks and Banking
’ 150 Recovery of Overpayment ’ 320 Assault, Libel &                Pharmaceutical                                                      PROPERTY RIGHTS                 ’ 450 Commerce
      & Enforcement of Judgment         Slander                     Personal Injury                                                   ’ 820 Copyrights                  ’ 460 Deportation
’ 151 Medicare Act               ’ 330 Federal Employers’           Product Liability                                                 ’ 830 Patent                      ’ 470 Racketeer Influenced and
’ 152 Recovery of Defaulted             Liability             ’ 368 Asbestos Personal                                                 ’ 840 Trademark                         Corrupt Organizations
      Student Loans              ’ 340 Marine                       Injury Product                                                                                      ’ 480 Consumer Credit
      (Excludes Veterans)        ’ 345 Marine Product               Liability                              LABOR                        SOCIAL SECURITY                 ’ 490 Cable/Sat TV
’ 153 Recovery of Overpayment           Liability              PERSONAL PROPERTY               ’ 710 Fair Labor Standards             ’ 861 HIA (1395ff)                ’ 850 Securities/Commodities/
      of Veteran’s Benefits      ’ 350 Motor Vehicle          ’ 370 Other Fraud                       Act                             ’ 862 Black Lung (923)                  Exchange
’ 160 Stockholders’ Suits        ’ 355 Motor Vehicle          ’ 371 Truth in Lending           ’ 720 Labor/Management                 ’ 863 DIWC/DIWW (405(g))          ’ 890 Other Statutory Actions
’ 190 Other Contract                   Product Liability      ’ 380 Other Personal                    Relations                       ’ 864 SSID Title XVI              ’ 891 Agricultural Acts
’ 195 Contract Product Liability ’ 360 Other Personal               Property Damage            ’ 740 Railway Labor Act                ’ 865 RSI (405(g))                ’ 893 Environmental Matters
’ 196 Franchise                        Injury                 ’ 385 Property Damage            ’ 751 Family and Medical                                                 ’ 895 Freedom of Information
                                 ’ 362 Personal Injury -            Product Liability                 Leave Act                                                               Act
                                       Medical Malpractice                                     ’ 790 Other Labor Litigation                                             ’ 896 Arbitration
      REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS              ’ 791 Employee Retirement                FEDERAL TAX SUITS               ’ 899 Administrative Procedure
’ 210 Land Condemnation          ’ 440 Other Civil Rights       Habeas Corpus:                       Income Security Act              ’ 870 Taxes (U.S. Plaintiff             Act/Review or Appeal of
’ 220 Foreclosure                ’ 441 Voting                 ’ 463 Alien Detainee                                                           or Defendant)                    Agency Decision
’ 230 Rent Lease & Ejectment     ’ 442 Employment             ’ 510 Motions to Vacate                                                 ’ 871 IRS—Third Party             ’ 950 Constitutionality of
’ 240 Torts to Land              ’ 443 Housing/                     Sentence                                                                 26 USC 7609                      State Statutes
’ 245 Tort Product Liability           Accommodations         ’ 530 General
’ 290 All Other Real Property    ’ 445 Amer. w/Disabilities - ’ 535 Death Penalty                    IMMIGRATION
                                       Employment               Other:                         ’ 462 Naturalization Application
                                 ’ 446 Amer. w/Disabilities - ’ 540 Mandamus & Other           ’ 465 Other Immigration
                                       Other                  ’ 550 Civil Rights                     Actions
                                 ’ 448 Education              ’ 555 Prison Condition
                                                              ’ 560 Civil Detainee -
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from           ’ 3       Remanded from               ’ 4 Reinstated or       ’ 5 Transferred from              ’ 6 Multidistrict
    Proceeding               State Court                      Appellate Court                 Reopened                Another District                  Litigation
                                                                                                                          (specify)
                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                     28 U.S.C. § 1333; 9 U.S.C. §§ 4, 8
VI. CAUSE OF ACTION Brief description of cause:
                                     Fed. R. Civ. P. Rule 9(h) Breach of Maritime Contract
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                           DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                               JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                        DOCKET NUMBER
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
04/20/2018                                                       /s/George A. Gaitas
FOR OFFICE USE ONLY

  RECEIPT #                  AMOUNT                                    APPLYING IFP                                      JUDGE                             MAG. JUDGE

               Print                           Save As...                                                                                                                     Reset
              CaseCase
                  1:18-cv-00178-MAC-ZJH
                       25-90138 Document 25-15
JS 44 Reverse (Rev. 12/12)                Document
                                               Filed1-4
                                                     in TXSB
                                                          Filedon04/20/18
                                                                  06/02/25 Page
                                                                           Page 2154
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                                                  153
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the six boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
         When this box is checked, do not check (5) above.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
